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                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                          WESTERN DIVISION AT DAYTON


 UNITED STATES OF AMERICA,             )       No. 3:14CR149TMR

                      Plaintiff,       )       GOVERNMENT=S MOTION TO DISMISS
                                               THE INDICTMENT
                      v.               )

 XIAFEN CHEN,                          )

                      Defendant.       )

                                       )



        Pursuant to the provisions of Rule 48(a) of the Federal Rules

of Criminal Procedure, plaintiff United States of America, by and

through its counsel of record, the United States Attorney=s Office

for the Southern District of Ohio, hereby moves to dismiss the

indictment against the defendant in this matter.                 This motion is

based upon the attached memorandum of points and authorities, the

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files and records in this case, and such evidence or argument as may

be presented at any hearing on this matter.

DATED: March 10, 2015               Respectfully submitted,

                                    CARTER M. STEWART
                                    UNITED STATES ATTORNEY

                                    s/Brent G. Tabacchi
                                    BRENT G. TABACCHI (6276029 IL)
                                    Assistant United States Attorney
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                    MEMORANDUM OF POINTS AND AUTHORITIES

        Federal Rule of Criminal Procedure 48(a) provides that Athe

government may, with leave of court, dismiss an indictment,

information, or complaint.@           Fed. R. Crim. Proc. 48(a).

ASeparation-of-powers concerns generally require a district court to

defer to the government's decision to seek a dismissal of a criminal

charge because a denial of the motion would represent an intrusion

upon prosecutorial prerogative.@           United States v. Gonzalez, 58 F.3d

459, 462 (9th Cir. 1995).           Phrased differently, Athe decision to

dismiss [a complaint] implicates concerns that the Executive is

uniquely suited to evaluate, and a district court should be reluctant

to deny its request.@        Id.; see also      United States v. Salinas, 693

F.2d 348, 352 (5th Cir. 1982) (AThe Executive [Branch] remains the

absolute judge of whether a prosecution should be initiated and the

first and presumptively the best judge of whether a pending

prosecution should be terminated.             The exercise of its discretion

with respect to the termination of pending prosecutions should not

be judicially disturbed unless clearly contrary to manifest public

interest.@).

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     Here, the United States elects to exercise its discretion and

discontinue the prosecution of this case.            The United States has

spoken with defense counsel, who has no objection to this motion.

The United States therefore respectfully requests that the Court

grant this motion.



DATED: March 10, 2015               Respectfully submitted,

                                    CARTER M. STEWART
                                    UNITED STATES ATTORNEY

                                    s/Brent G. Tabacchi
                                    BRENT G. TABACCHI (6276029 IL)
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                          CERTIFICATE OF SERVICE

     I hereby certify that a copy of the foregoing was served this
10th day of March, 2015, on defendants’ counsel via the Court's ECF
system.

                                    s/Brent G. Tabacchi
                                    BRENT G. TABACCHI
                                    Assistant United States Attorney




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